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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ANN C. McCLINTOCK, #141313
     Assistant Federal Defender
3    801 I Street, 3rd. Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6                      IN THE UNITED STATES DISTRICT COURT
7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,             ) Case Nos. 2:09-cr-00407 KJM
                                           )           2:16-cv-00916 KJM
10                Respondent-Plaintiff,    )
                                           ) APPOINTMENT ORDER
11           v.                            )
                                           )
12   MARTIN GARCIA-CHAVEZ,                 )
                                           )
13                Movant-Defendant.        )
                                           )
14
15           Movant MARTIN GARCIA-CHAVEZ, an indigent federal prisoner
16   proceeding pro se, has filed a motion to vacate, set aside or correct his sentence
17   pursuant to 28 U.S.C. 2255. Docket no. 532. In the section 2255 motion, Mr.
18   Garcia contends that his trial counsel rendered constitutionally ineffective
19   assistance of counsel.1
20           This Court referred this motion to the Office of the Federal Defender Office
21   with the request that it advise the court if it will represent Mr. Garcia on the
22   pending motion. Docket entry nos. 547, 555. Having reviewed the docket and
23   motion at issue, the Federal Defender recommends appointment of counsel, but
24
25
     1
26      Movant Garcia later filed a § 3582(c)(2) motion to reduce his sentence, Docket
     no. 536, and a second section 2255 motion concerning the application of Johnson
27   v. United States, 135 S.Ct. 2551 (2015), Docket no. 542. This proposed order does
28   not address either of these other motions.
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1    cannot itself accept appointment due to a conflict.         The Federal Defender
2    represented a codefendant of Mr. Garcia’s in the underlying criminal case.
3          In light of the complexity of the legal issues involved and the possible need
4    for an evidentiary hearing or other evidentiary development, the interests of justice
5    require appointment of counsel. See 18 U.S.C. § 3006A(a)(2)(B); see also
6    Weygandt v. Look, 718 F.2d 952, 954 (9th Cir. 1983).
7          If counsel is appointed to represent Movant Garcia, counsel should be
8    granted leave to file a motion to amend or advise the court whether counsel intends
9    to proceed with the pro se section 2255 motion filed April 29, 2016. Movant
10   Garcia should be granted sixty days in which to file a motion to amend or notice of
11   his intent not to amend. The government should then file a response within 60
12   days of movant’s motion to amend or notice of his intent not to amend. Movant
13   should then be allowed 30 days to file a reply.
14         Due to its conflict, the Federal Defender requests that the Office of the
15   Federal Defender be relieved from assuming appointment in the above captioned
16   case and that attorney Erin J. Radekin be appointed counsel for Movant Garcia.
17   Dated: September 2, 2016               Respectfully submitted,
18                                          HEATHER E. WILLIAMS
                                            Federal Defender
19
                                                         c
                                            /s/ Ann C. M
                                                       c
                                                           Clintock
20                                          ANN C. M CLINTOCK
                                            Assistant Federal Defender
21
22         I accept the appointment and ask the order to be granted.
23
     DATED: September 2, 2016
24
                                             s/ Erin J. Radekin
25                                          ERIN J. RADEKIN
                                            1001 G STREET, SUITE 100
26                                          SACRAMENTO, CA 95818
27                                          Attorney at Law
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                                              -2-
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1                                        ORDER
2          For good cause shown, IT IS HEREBY ORDERED that:
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           1.     Movant Garcia is appointed counsel pursuant to 18 U.S.C.
4
5    § 3006A(a)(2)(B), with respect to his motion for § 2255 relief filed April 29, 2016;

6          2.     Attorney Erin J. Radekin is appointed to represent Movant Garcia;
7
           3.     The Clerk of the Court is directed to serve a copy of the petition (ECF
8
9    No. 532) and this order on Erin J. Radekin, Attorney at Law, 1001 G Street, Suite
10   100, Sacramento, CA 95818, erinjradekin@gmail.com; and
11
           4.     Movant Garcia is granted sixty days in which to either move to amend
12
13   the section 2255 motion filed on April 29, 2016, or give notice of his intent to
14
     proceed with the pro se motion. The government shall file a response within 60
15
     days of movant’s filing and service of a motion to amend or notice of his intent to
16
17   proceed with the pro se motion. Movant shall have 30 days from the filing and
18
     service of the government’s response to file a reply.
19
     DATED: September 9, 2016.
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22
                                        UNITED STATES DISTRICT JUDGE
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